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IN THE CIRCuUrT COURT OF PULASKI COUNTY, ARKANSAS
FOURTEENTH DIVISION

ANGELA MOODY PLAINTIFF
VS. NO, 60DR-2011-1586
EDWARD MOODY DEFENDANT

VIDEO EVIDENTIARY DEPOSITION oF DR. JAMES R. FLENS
OCTOBER 8, 2014

APPEARANCES
ON BEHALF oF THE DEFENDANT :

Ms. Diana Friedman

Attorney at Law

3710 Rawlins Street, Suite 1230
Dallas, Tx 75219

ON BERALF or THE PLAINTIF?R:

Mr. Jeff Mitchell

TAYLOR LAW PARTNERS, LLP
303 Millsap Road
Fayetteville, AR 72703

ALSO PRESENT:

Mrs. Adrienne Griffis, Co-Counsel for Defendant
Mrs. Angela Moody, Plaintiff
Edward Moody, Defendant

 

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COURT REPORTER'S CERTIFICATE
EXHIBITS

BAHIBIT NOS Ls < ss kms eet
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EXHIBIT NO. 3

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STIPULATIONS

The deposition of Dr. James R. Flens, Produced, sworn and
examined in the law offices of Dodds, Kidd « Ryan, 313 West
Second, Little Rock Arkansas, commencing at 9:56 a.m. on
October 8, 2014, in the above Captioned cause at the instance
of counsel for the Defendant, Said deposition being taken
according to the terms and Provisions of the Rules of Civil
Procedure.

It is stipulated ang agreed by the parties, through their
attorneys of record, that all forms and formalities in the
taking, transcribing, forwarding and filing of said deposition
are hereby waived, however, the right being expressly reserved
to object to the testimony of the witnesses at the time of
trial as to incompetency, irrelevancy and immateriality, other

than those with respect to the form of questions as Propounded

to the Witness.

 

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VIDEOGRAPHER: We're on the audio/video record
at approximately 9:58 a.m. on October 17th(sic),
2014. This is Mike Tschiemer, audio/video specialist
from Arkansas Legal Video. We're at Dodds, Kidd,
Ryan at 313 West Second Street in Little Rock,
Arkansas to take the deposition of Dr. James Flens in
the matter of Angela Moody versus Edward Moody, in
the Circuit Court of Pulaski County, Case No. DR
2011-1586. Will counsel please state their
appearances for the record?

MS. FRIEDMAN: Diana Friedman for Ed Moody.

MRS. GRIFFIS: Adrienne Griffis for Ed Moody.

MR. MITCHELL: Jeff Mitchell for Angela Moody.

VIDEOGRAPHER: Will the court reporter please
Swear the witness?

COURT REPORTER: Raise your right hand. Do you
solemnly swear or affirm that the testimony you're
about to give will be the truth, the whole truth and
nothing but the truth so help you God?

WITNESS: I do.

COURT REPORTER: Thank you.

VIDEOGRAPHER: Thank you. Please proceed.

PROCEEDINGS
WHEREUPON, Dr. James R. Flens, having been duly sworn

to tell the truth, the whole truth and nothing but the truth

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and gave the following testimony to wit:

DIRECT EXAMINATION
MS. FRIEDMAN:
Q Dr. Flens, would you please state your full name for the
Court and record?
A Dr. James R, Flens,
Q And how are you employed?
A I ama -- in Private practice aS a Forensic Clinical
Psychologist.
Q And where do you office?
A Down in the Tampa Bay area, a town called Valrico,
Florida.
Q And what licenses do you hold?
A I am licensed in Florida as a Psychologist. f am, also,
instrument rated pilot.
Q Do you have an area of expertise within your area of
Psychology?
A Yes, I do.
Q Will you tell the Court what that is?
A I am Specialized in child custody evaluation. And within
that, I also Sub-specialize in Psychological testing as it's
used in the child custody arena.
Q I'm going to hand you what's been marked as Exhibit One
and ask if you can identify it @s your Curriculum Vitae?

(WHEREUPON, Exhibit No. 1 Was marked for

 

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identification purposes.)
WITNESS:
A Let me make sure it is. Yes, it is. It's not my current
one. My current one is, actually, dated July 26, 2014. Tf can
Probably, quickly tell you the changes --
Q Okay.
A -- that have been made.
QO If you would, please.
A There is one publication addition. It's in Press, in the
Matrimonial Strategist, David Martindale and myself are the
authors. It's called Collaborative Work Product Reviews, a
Concept in Search of a Method. The Teaching Experience, the

Houston Family Law Trial Institute, that should actually be

2010 through 2014. I've participated in that on a year to year

basis the last four years. And presentations, there have been
-- oh, this is dated June 9, 2012, not 2014. That's why I was
(inaudible). There have been several additional presentations
that I've done. One was a full day on advanced testing at

AFCC Regional Conference, November of 2012. Another about
ninety minute one at the same conference on evaluating families
with young children. Another one testing at the UT School of
Law and AAML Chapter in January of 2013. And one on cross-
examination on evidentiary issues regarding evaluation and
testing: . I didua fui day for the New Jersey AFCC on

Psychological Testing in June of 2013. I did one on cross

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2014. Was back at the ut School of Law, AAMT, Texas Chapter in
June of '14 regarding, the title is crazy, Your Client or Mine
but it had to co with issues of PSycholopathology and the use
of the DSMV and then, also, I did &@ presentation in testing at
the Door County Summer Institute in Egg Habor, Wisconsin in
July. So, then of course, there is going to be a bunch of -- I
mean, I can get you guys an updated thing.

MS. FRIEDMAN: Counsel, would you agree to let

him get us a more up -- I didn't realize this one was
for 2012 =. get us an updated one and substitute it
in?

MR. MITCHELL: Sure.
MS. FRIEDMAN: As a --

MS. FRIEDMAN:

Q And that would be the summary of your education
experience?

A Otherwise, I'm just going to be Prattling along about a

bunch of stuff that's happened Over the past two years.
MR. MITCHELL: No Problem.

MS. FRIEDMAN:

Q And I was going to ask you, you're Board Certified in

Forensic Psychology; is that correct?

A Yes, I am.

Q And would you tell the Court what that means?

 

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A Board Certification by American Board of Professional
Psychology is and I, essentially, submitted myself to the
American Board of Professional Psychology Academy of Forensic
Psychology to see if I qualify and have the knowledge, skill,
education and training experience to be given that special
Status. At current, there's 313 Board Certified Forensic
Psychologist alive. I'm also Board Certified in Clinical
Psychology and there's roughly 40 of us dually boarded in
Clinical and Forensic Psychology.

MS. FRIEDMAN: Offer Exhibit One at this time,
subject to it being substituted for a more current
version of his Curriculum Vitae.

MR. MITCHELL: No objection.

MS. FRIEDMAN:
Q Now, you were retained in this Moody -- the Moody divorce;

is that correct?

A Yes,
OQ And what were you asked to do?
A Well, as we mentioned earlier, initially, I was retained

and then I was asked to, essentially, review the records
provided to see if there were indications that the family
should be evaluated in some way and, particularly, as a child
custody evaluation, a Standard where we evaluate the whole
family would be appropriate.

Q And what did you review to enter -- to weigh in making

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your decision, or your opinion as to whether or not a custody
evaluation would be appropriate for this family?

A Well, I reviewed a hundred and nine documents, they're
outlined on Attachment A, starting on page ten of the report.
That includes Court documents, almost all of them are Court

related documents, Motions, Court Orders, transcripts,

that took Place between Ed and Angela Moody, and a few other
documents but there's, essentially, a hundred and nine,

Q I'm going to hand you what's been marked as deposition

you prepared on this case.
(WHEREUPON, Exhibit No. 2 was marked for
identification purposes.)
WITNESS:
A Yeah, this is Lt.

Q All Fight. ta offer Exhibit 2.

back. Excuse me, I'm treating this as if it's a
discovery deposition. We do object. In Arkansas,
this would not be taken into evidence. It's hearsay
and so, for the record, we object to introduction of
this into evidence.

MS. FRIEDMAN: Okay. We'll go through the

Feport then. We would offer it as a summary of his

 

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Responses to Motion, Responses to Responses, a variety of texts

Exhibit No. 2 and ask if you can identify it as the report that

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MR. MITCHELL: No objections. Well, I take that

 

 
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testimony. Would you -- do you have an objection to

it as a summary of his testimony?
MR. MITCHELL: Yes. His report is inadmissible.
It's hearsay and while he could be impeached by use
of it, it should not rightfully be taken into
evidence.
MS. FRIEDMAN:
Q What are your opinions that you have formed in this case?
A There are, essentially, four opinions after reviewing all
these documents. And one, there was concern about Angela's
credibility, honesty, and possible characterological issues.
Second, there were concerns about Angela's exposure of the
child to her paramour. Third, issues regarding Ed's alcohol
use, possible substance abuse disorder. And finally, the more
-— I guess the overriding issue is issues of high conflict, co-
parenting and gate keeping.
Q Okay. And based on those concerns, did you have an
opinion on whether or not a child custody evaluation would be
appropriate for this family?
A Yes.
Q And what is that opinion?
A That it should be. That I think it would be helpful for
the Court in trying to ferret out those issues and assist this
family, particularly the child.

Q And would you explain to the Court why the child custody

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evaluation is important, given the materials that you've

reviewed?

A Well, given the concerns that I've raised, there are
issues about the mother, there's issues about the father, and
those would, ultimately, impact parenting and co-parenting.
This is clearly a high conflict case given that there's over a
hundred legal documents that I've reviewed back and forth
between the parties, When you review the texts, it's pretty
clear that they have trouble communicating about simple issues
and that -- those kinds of Problems, the issues with the mom,
the issues with the dad, not only effect their ability to co-
parent but certainly would effect their ability to parent this
child. And So, I would think that that would be very helpful
to the Court in being provided that information.

Q When you listed your concerns earlier, the first one was
Angela's credibility, honesty and possible characterological
issues. Can you expand to the Court what that means?

A Yeah. There were several documents, and it starts on Page
two, where issues regarding Angela Moody's Credibility and
honesty were raised not only in some of the things that she had
done but even some of the comments made by a Court in the
documents which raised some concerns about not only credibility
and honesty but if there are characterological issues that
would need to be address in determining whether this would be
the appropriate primary parent for Eden.

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Q And when you Say characterological issues, can you expand

on that for the Court.

A Well, character, essentially we all have a character
structure. Sometimes a character structure can be problematic
and it can reach the point of being diagnosable, DSM,
Diagnostic and Statistical Management, even though we are
currently on the Fifth Version, most people are Still relying
on the Fourth, but it can also be addressing things like if
there's issues of narcissism, issues of Psycopathy, problematic
features of someone's personality makeup that would -- that are
essentially ingrained and make it very difficult for that

person to be able to parent and co-parent in an appropriate

way.
QO And what would an evaluator need to do to determine
whether or not the characterological issue -- I guess character

issues exist?

A Well, obviously, one of the things would be a very
thorough set of interviews, looking at diagnostic criteria,
psychological testing is often used. It would have to be
Someone who is very competent, very fluid in that. There's
also a review of Psychological records or legal records and
other types of collateral records, like I did here, Speaking to
collateral parties, essentially, garnishing as much information
as possible to provide the Court information about whether this

exists and if it does, to what extent and if it does and to

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what extent, how it would effect the parenting and co-
Parenting.

Q And, obviously, you've not done an evaluation in this

case, correct?

A No, I have not.

Q Okay. So, if someone were to -~ the Court were to
appoint someone to do an evaluation and they found that these
characterological issues existed, such as narcissism or
Psychopathology, what effect would that have on a child?

A Well, to correct, it's Psychopathy.

Q Psychopathy, sorry.

A Psychopathology is the overriding, Psychopathy is,
essentially, someone who has Psychopathy is a psychopath.
Parents are only able to provide children with they,
themselves, are able to do unless they bring other people
involved, So, if mother has characterological conditions,
she's going to be limited, toa certain extent, in the ability
to parent and also, to co-parent. An individual with those
types of characteristics tends to be manipulative, shallow,
Superficial, they lie, they create scenarios that -- and then,
change them if they get caught, and that's not the kind of
thing we try to teach our kids, unless you're trying to produce
another individual like that. And so, those are the kinds of
things we try not to teach kids but, also, it makes for very
difficult Co-parenting. It's very hard to co-parent with

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someone who has those types of features.

Q Okay. You mentioned co-parenting and gate keeping earlier
and you just mentioned co-parenting again. Would you tell the
Court what the issue is with regard to co-parenting and gate
keeping from the materials that you've reviewed?

A Well, gate keeping defined is attitudes and behaviors of a
parent towards the other parent that make it -- they interfere
with or facilitate involvement and contact with a child. So,
in this case, if Angela Moody is doing what's known as
restrictive gate keeping, she has attitudes and behaviors that
are interfering with or preventing Ed Moody from having a
involvement in the child's life and contact with the chided.

So, that's the concept of gate keeping and it ranges on one end
of the continuum from facilitative gate keeping where a parent
goes out of their way to facilitate, encourage, has positive
attitudes towards the parent, thinks that it's important for
them to be involved and actually does what they can to increase
involvement to restrictive gate keeping where things are done
to either interfere with or Prevent contact and involvement and
also, with co-parenting issues, they simply don't believe that
that parent should have any input.

Q And what effect does that have on a child if a parent is
exercising gate keeping?

A Well, if they're -- if they're facilitative gate keepers,

that's great, that's what we want. We want parents to do that

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kind of thing. And sometimes there's reasons that that doesn't

happen and this was one of the issues where the father has
substance abuse issues. But on the other end of the Spectrum,
if you have restrictive gate keeping, essentially, you're
depriving the child of input from the father and also,
involvement by the father in the child's life. There's a lot
of research that (inaudible) looks at, what happens when you
interfere with a Parent's relationship. Also, father
involvement has been shown to be related to a variety of
positive outcomes but also, negative outcomes if there's
interference or reduced father involvement,

Q Can you tell the Court what some of those negative
outcomes are if the father's not involved?

A It can be things from Problems in academics, in social,
getting in trouble with the law, substance abuse issues.
There's just about every positive thing that you can imagine we
want our kids to turn out could be negatively impacted because
eof the lack of involvement,

Q And can you tell the Court, specifically, an example of
Something that you reviewed that made you think that, perhaps,
restrictive gate keeping was going on in the Moody case?

A Well, one of the things I saw was the texts. The texts
are pretty clear that Ed will make numerous contacts or texts
with Angela in an attempt, can I talk to Eden, can I talk to
Eden, there's no response. And then, when there is a response,

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response is kind of snarky, attacking, comments like, you're

only supposed to use these texts for communicating with me
regarding the child and then, she'll use that to then attack
him on his substance abuse or other issues. And a read of that
Gives. axpretty Glear view that this is a high conflict case
where these people are just not able to do this kind of stuff
together.

Q Can you give the Court an example of what would be
facilitory gate keeping and the same scenario, where Mr. Moody
texts Mrs. Moody and Says, I would like to speak with Eden?
What would be a facilitory gate keeping response?

A Sure, she's in the bathtub. I'll have her call you soon
as she gets out. And then, actually facilitating that phone
Call. And sometimes kids -- you know -- reality is not every
child wants to talk to a parent every night or whatever. And
sometimes they've got their friends over or something but a
parent has to sometimes step in and say, you can take a few
minutes out of your game with your friends and talk to dad.
Essentially, providing the child with an understanding that
this is an important aspect of your life, too.

Q Okay. Now, you were Provided with materials and you've
read in the texts that Mrs. Moody accuses Mr. Moody of having a
substance abuse problem?

A Correct.

Q And you've not evaluated that?

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A No.

Q And that's Something, an issue that you think Should be

evaluated by this custody evaluator as well?

A Absolutely.

evaluation competently for this family?
A Yes. I Only know one person.
Q And would you tell the Court who that is?
A It's Dr. Sol Rappaport. He's out of Chicago. He's also
licensed in Arkansas. He's Board Certified in Clinical
Psychology and Child and Adolescent Psychology so, he's double
boarded and he has tremendous knowledge and understanding of
issues regarding character issues, issues associated with gate
keeping, substance abuse. So, I think that would be -- I've
looked at his work, I've presented with this individual, I'm
very comfortable with someone like that being able to cover the
needs of this case.
Q And do you think that Eden, the child, is someone who
deserves to be able to have an evaluation like that so that the
Judge can make the best orders possible for her?
A Absolutely.

MS. FRIEDMAN: Pass the witness.

MR. MITCHELL: Thank you, Ms. Friedman.

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18.
CROSS-EXAMINATION

BY MR. MITCHELL:

Q Dr. Flens, we met before your testimony but I'm Jeff
Mitchell. I represent Angela Moody in this case. I have a few
questions for you about your testimony today. First of all, I
think I heard you Say that you've been hired by Mr. Moody to
give this testimony; is that correct?

A Correct. Well, I've been hired by Mr. Moody to review the
documents and then, based on that, whether they wanted me to
proceed further, do I have an opinion.

Q suffice it to say; Doctor, that if your opinion didn't
please Mr. Moody, you wouldn't be here testifying today?

A I think we can agree on that, yes.

Q Okay. When were you first contacted by either Mr. Moody
or Mr. Moody's counsel with respect to your testimony, perhaps
reviewing records and providing an opinion in this case; do you
remember?

A Well, I know I was approached, roughly, two years ago by
Mr. Moody. As we mentioned earlier, we had a conversation. I
don't recall the conversation. I did send my retainer
agreement, he signed it and Provided me with a retainer check.
And then, for roughly a year or so, the case was stagnant, I
had no involvement. And then, I was contacted by counsel,
Diana Friedman, and what they, essentially, wanted me to do was
what.2 did. 16 look at these records and say whether I

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thought there was some problems that could be addressed and if

that's what I came up with -- if I didn't, I would have let
them know, you know, I understand where you're coming from, I
can't support what you're asking. And after I formed my
opinion, I was asked to put it in the form of a report.

Q Do you remember my question, Dr. Flens?

A Apparently not.

Q It might help if you would answer my question and then,

perhaps, you can give a narrative if Ms. Friedman asks you for

that. About two years, is that when you were first
contacted? .

A When I was first contacted.

Q Okay. Do you recall about how long ago it was that Ms.

Friedman provided you with materials to review?

A tt would be within the last twelve months.

Q Did you, in the Process of review of these Materials, take
notes or make notes?

A Really, the notes evolved into a report. I mean,
literally, I don't have separate notes other than maybe some
highlighting in the documents that I reviewed.

Q Did you save those documents that have highlights?

A I believe they're saved. When Tf Save them, I save them

with the highlights.

Q And did you save drafts of your report as you made them?

A No, I did not.

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0 To the extent that you have notes in the margins of

materials that you read, did you destroy those notes --

A No.

Q —- and materials? You still have those?

A Yes, Sir.

QO Okay. I would ask counsel to produce those to us and rE

expect that you'll be able to gather those up and get those to
counsel for Mr. Moody within a reasonable time?

A Oh}. Sure.

Q The possible substance abuse disorder, you -- in your
report you have three areas of concern and then, you add to
that another important concern; is that fair to say?

A (No response)

Q Your concerns about Mrs. Moody's credibility, etc.,
second, concerns about the exposure of the child to Mr. Steve
Harrelson and then, hardy: Mics Moody's alcohol use?

A Correct.

QO Your with me so far. And then, you add to that,
importantly, issues of conflict, co-parenting and gatekeeping?
A Yeah, I would have normally -- I normally would have just
Said four but that seemed to be an overriding issue.

Q I understand that. With respect to your concern about Mr.
Moody's potential substance abuse disorder, as you described in
your testimony, would a Psychologist be the best person to

assess Mr. Moody for that, in your professional opinion?

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A Either a Psychiatrist or a Psychologist. Somebody who has

the appropriate training, yes, I think that would be the
appropriate person,

Q And describe for me Dr. Rappaport's, in Chicago,
particular expertise with assessing and determining whether a
Person possesses and is effected by substance abuse disorder?
A I can't tell you what is on his c.y. offhand but I know in
talking with him, this is an area that he frequently evaluates.
Q But you would agree that we ought to get the best person
available to assess these areas of concern that you've raised
in your testimony, would you not?

A Yes,

Q Okay. And so if, in fact, Dr. Rappaport in Chicago is an
expert, as you've described him, in assessing the
psychological, between the ears, Capabilities of parents but if
there's someone whose better suited to assess someone's
potential for substance abuse disorder, perhaps even here
leeally, that person would be the better person to assess that
Particular issue, would he not?

A Yes, as long as that information can then be integrated
into the larger picture evaluation,

Q How does a Parent with a substance abuse disorder --
what's the effect on a child over the child's formative years,
exposed to a parent with a substance abuse disorder?

A Part of -—-

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Q (Inaudible) articulate that.

A ~- I'll try the best I can. Part of the problem is going
to be the extent of that substance abuse disorder. -Is<it
somebody who is -- and when I Say substance abuse disorder I'm
really talking about substance dependence, difference between
alcohol abuse and alcohol dependence or alcoholism -- if we're
talking about someone who has -- occasionally, drinks too much
versus someone who has -- is normally drinking heavily on a day

to day basis, that can -- we're talking about a very different

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set of scenarios.

Q And you would -- you would agree that in your expert

opinion, the extent of the abuse and the acuity of the disorder

is important to know when assessing a person's ability to
parent?

A Absolutely.

Q Okay. And from, at least the materials you've reviewed
and understanding that those materials were provided by Mr.
Moody, correct?

A Correct.

Q You have harvested from those materials and developed a
concern about the potential extent of Mr. Moody's substance
abuse disorder?

A Correct.

Q And how it might affect the child, Eden --

A Yes.

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QO “~~ over her formative years. What are the formative
years? How long does all this matter? Can you tell me?
A I don't know that anybody can define what formative years

are. We do know -- it used to be thought that brain
development Stopped at about eighteen, it does not. Obviously
very early in life, the first couple of years, can make or
break whether this person is going to be able to form
appropriate attachments, relationships. Then, as they get
Older then, they start learning about moral issues. So, when
children are young, if you help them develop certain,
essentially, temperaments and traits, those then Carry on and
SO, later we build on those things.

Q Well, auring those time periods, if a child is often

exposed to @ parent that has developed an acute substance

Child what she needs?
A Well, part of it, as you mentioned, is severity and
acuity. The other issue is what are the behaviors, it always

comes down to that, what are the behaviors that that Parent is

demonstrating while with the child.

Q Well, there's certainly a physical danger that the child'
€xposed to, correct?

A Well, and again, it depends --

Q The potential?

A ~~ right, it depends on acuity and severity.

 

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disorder, how does that effect the parent's ability to give the

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Q Sure. But assuming that the severity rises to the level

that it impacts parenting, the child would be at some physical
risk, correct?

A Could be, yes, possibly.

Q Probably, in fact, if it's acute enough?

A If it's acute enough, yes.

Q All right. And there would be inattention, I would
expect, to the child's needs, assuming acuity?

There could be.

Sure. An indifference perhaps to the child's needs --

Le .==

-- (inaudible) acuity?

PO BS

““ Perea] Ly weuhd depend on the case. But overall, sure,
that could be one of the possible issues.

Q What would you expect, changing the subject just a little
bit, Dr. Flens, what would you expect the costs of this type of
evaluation to run, should the Court -- do you know what Dr.
Rappaport's rates are as far as --

A No, I do not.

Q Okay. Would you expect they'd be commensurate with your
own?

A i don't know. Io tHe it, probably, is in the Chicago
area and it may be different, maybe lower down here.

Q Would you expect that the tall building, Chicago

psychologist charge a higher rate than local Little Rock

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Psychologist do?

A Yeah, but he's not a big building, downtown Chicago guy.
He's a more Suburbs guy.

Q You talked about your review of texts messages between the
Parties in this case?

A Yes.

Q And did you ask for the universe of text messages that
were exchanged between Mr. Moody and Mrs. Moody since their
Separation?

A No, I was just given certain --

Q You were provided with selected amount of texts --

A Correct.

Q —~- I take it? Okay. Whether it was by Mr. Moody or
counsel?

A Yeah, about four hundred pages of $C.

Q Okay. Do you recall reading in any of those text
exchanges between the parties, whether by text or emails -- [I
didn't see in your report that you read emails but, do you
recall any exchanges between the parties that you reviewed
where Mr. Moody was non-responsive to requests regarding
visitation from Mrs. Moody?

A Yes.

QO Describe those for me.

A Well, just that. I mean -- you know -- this is your time
and he doesn't respond. I mean, there's stuff like that,

 
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There's positive -- there's actually some positive stuff in
there, too. There's some responsive stuff by the mom.

Q But you would agree that you were able to discern from
this material that, at times, Mr. Moody is non-responsive to
requests for cooperation and facilitation of child custody and

visitation issues?

A Correct.

Q That can't be good for the co-parenting relationship, can
ee?

A No.

Q You told me, before we started, and you may have testified

and if so, I apologize but that you charge Four Hundred Dollars
($400) an hour for your review of materials and providing
testimony in a case like this?

A Yes.

Q Okay. And in fact, that's what you charged Mr. Moody
since you've been asked to assist him in his preparation for
Trial?

A Yes.

Q Okay. And I think I understand that to date you have
earned, through the course of your work for Mr. Moody in this
case, some Fourteen Thousand Dollars ($14,000)?

A Correct.

O Now, bear in mind this is Jeff Mitchell math so, Fourteen

Thousand ($14,000) divided by Four Hundred ($400) looks to be

 

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about thirty five hours?

testified to? And that doesn't include the time that you spent

traveling here today and testifying here today?

back home from your testimony here today Mr. Moody is going to

Owe you several thousand dollars more; is that right?

and have you been asked whether or not you would be available

to testify at that Trial?

A I've been asked if I would be available, I don't if to
testify.
Q Is there any reason why you couldn't be available the week

of December 8 to come and give your testimony to the Judge so
he could have the ability, in person, to assess your
credibility and hear your testimony live?

don't see any problem with that.

time,

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Yes.

Does that sound about right to you about --

Yes.

-- the time you spent forming these Opinions that you

Correct,

Okay. So, we could expect that by the end of your trip

Yes.

I -- unless I've got a conflicting Trial or a Hearing, I

But you've known that that was the week of Trial for some

I take it?

 

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28.
A Correct.
Q And you didn't discover a conflict since you found out
about that date, on your calendar; is that right?
A I don't remember having any conflict.
Q Okay. I was provided a copy of your report before it was

discussed with you today but, in forming your opinions and
working for Mr. Moody in this case, you did prepare a report
and these opinions that you've expressed here today can all be
found in that; is that right?

A Correct.

Q Okay. And that report was completed back in September of
this year?

A Yes.

Q You've testified here today that you had three areas of
concern and then, one overriding sort of concern that sort of
crystalized in your mind since you reviewed these materials
provided by Mr. Moody. The first is concerns about Mrs.
Moody's credibility, honesty and possible characterological
issues. Did I understand your testimony right about that?

A Yes.

Q Okay. Her credibility issue, that was from your reading
of A transeript of a prior Hearing in this case; is that right?
A There were several issues, if you look at page two --

Q ieMinok == Lm just talking about your testimony, Dr.
Flens. I listen to you testify and I didn't hear you explain

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anything other than your recollection of a comment made by

Judge Smith in this case that had some bearing on Mrs. Moody's
credibility. .

A I'm not sure what your question is.

Q Well, my question is, is that what led to the formation
of your opinion about her credibility being anissue in
parenting her child?

A No. It was the issues that I described in the report
starting on page two.

Q Okay. Well, if you have issues besides the concern that
you formed after reading about Judge Smith's comment about the
credibility of witnesses in a prior Hearing, what are those?

A Well, there was -- I méan, there were she stole Ed Moody's
cell phone. She tried to do a back door settlement and hide
the issue from Ed Moody with Russell ¢ Lemay Plumbing. I'm
Sorry, that's (inaudible), but there was avoiding service, that
she removed Ed Moody's name from a USAA document, that under
the Court, the Judge's comments about her credibility on March
7, 2014. So, those are related to issues with credibility and
honesty.

Q Is that the complete list? Ts that everything that
helped you form your opinion that her credibility may have a
bearing on her ability to parent?

A To the most part, yes.

Qo Okay. And Dr. Flens, it's fair to say that all of what

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you just expressed was -- are facts taken at face value from

information provided to you by Mr. Moody or his counsel; is
that right?

A Yes. I took -- I took the records at face value.

Q You did no independent investigation to find out if any of
that was true in fact, did you?

A No, L did. not.

Q Okay. And does that not have -- cause you some concern if
you're forming opinions and testifying in this important case
about the parenting of this beautiful child based on
information provided to you by one of two parties in a very
adversarial and contentious divorce proceeding?

A Let me correct you. I'm not offering any opinions
regarding parenting this child. I made that very clear in the
Cautionary note, which is the first thing on the first page,

that I'm simply saying based on my review of some records, that

there are some concerns raised -- (inaudible) --
Q Yeah, and your opinion is —-
A (Inaudible) --

MS. FRIEDMAN: Let him --
MR. MITCHELL: -- Dr. Flens --
MS. FRIEDMAN: -- excuse me. Let him finish
(inaudible) please.
WITNESS:
A And that I'm suggesting to the Court, based on those --

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it's the Court's decision.

o Sure. You're -- you're opining based On concerns that
you formed after reading materials Provided to you by one of
two adversaries in this Proceeding; is that correct?

A Correct,

Q Solely on the basis of those materials provided to you by
that Party?

A Same thing, ves.

Q And that doesn't give you any concern about the
reliability of your opinion in this case?

A lt =~ it certainly limits the ability to generalize it;
yes. I mean, a Court document is a Court document unless
they're --~ it's fabricated or fraudulent, The Court Order on

March 7 of 2014 Says what it says.

Q Sure. And the Court Order of June li, 2013 would also say
what it Says, would it not?

A Sure.

Q Okay. So, let's talk about your concern about the
©xposure of Eden Moody to Mr. Steve Harrelson. You've noted
that as one of the basis for forming your Opinion that a
Psychological evaluation should be performed; is that right?

A Yes.

Q Okay. And your knowledge of the exposure of this child to
Steve Harrelson comes from information, again, provided by Mr.
Moody or his counsel, right?

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Yes.

Which you've taken at face value?

Correct.

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Okay. Do you realize or did you know, I assume you did
not, that the only credible evidence before the Court on this
issue is that Mr. Harrelson met this child perhaps two times,
perhaps for no more than a few minutes prior to June Tt (20132
A I -- (inaudible) --
MS. FRIEDMAN: Object --
WITNESS: (Inaudible)
MS. FRIEDMAN: -- objection, assumes facts not
in evidence and argumentative.
MR. MITCHELL: Well, it doesn't assume facts not
in evidence.
MR. MITCHELL:
Q It was testimony provided by Mr. Harrelson, as a matter of
fact, yesterday which you weren't a party to because you
weren't Nere; is that. right >
MS. FRIEDMAN: I'm going to object, counsel being
argumentative and that evidence is not before the
Court and this is an Evidentiary Deposition.

MR. MITCHELL:

Q You can still answer the question.
A I have no knowledge, one way or the other.
Q Okay. Well, Mr. Harrelson testified yesterday that he'd

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only met Eden a couple of times for a few minutes in each

instance prior to June of 2013 -- would you still have concerns
about her exposure to him?
MS. FRIEDMAN: Objection. The question assumes
facts not in evidence. That was not consistent with
Mr. Harrelsons's testimony yesterday.
MR. MITCHELL: Okay. We can argue about that
later.

MR. MITCHELL:

Q But if he did testify that way, would you still have those

concerns?
A I would probably reduce those concerns.
QO I would think so. And if the Court's Order of June Li;

2013 says merely that unless related by blood or marriage,
neither party shall have overnight guests of the opposite sex,
would you defer to the Court's better judgment of the child
being around this person for some period of time, not in
violation of the Court Order, is probably not a bad reflection
on parenting?

A I don't know that -- whether my opinion was based on
whether it was consistent with the Court Order. It was based
on the description of the individual as described in the

documents.

Q Which were provided to you by Mr. Moody?

A Correct.

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Q Okay. And taken at face value?

A I don't know any other way to take a document other than
face value.
Q And you, certainly, didn't take documents from the other
party in this adversarial proceeding that might shed light on
this in a different way?
A Actually, I-did take -— #£ you look at the list, there are
numerous documents that were, not provided by but were your
client's responses to those documents. So, I mean, there is
some bipartisanship in terms of these records I reviewed.
Q Suffice it to say that you didn't make any requests of
Mrs. Moody or me to provide you information that might shed a
different light on the materials that you were provided?
A No, I -did not.
Q Are you aware that you can Google search Dr. James Flens
and find on the Internet a fairly long article about your past
at a website called shrinksgonewild.com?

MS. FRIEDMAN: Objection, relevance.
WITNESS:
A Yes, I'm aware of that.
Q Okay. And I would expect that you've read it?
A Yes, I have.
Q And I would expect that you would take exception with a
lot of how that information, historical information,

biographical information about you is reported on that website,

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would you not?
A Yes, I would.
Q And if given an Opportunity you could, certainly, provide

an explanation or perhaps completely and absolutely refute some
of the information that @ppears on that website, correct?

A Correct, and I did,

Q And where is your response to that? Where can I find
that?
A You won't find it because the reporter did not provide

that information.

Q But, nevertheless, you would agree with me, would you not,
that if given an Opportunity, you would Challenge the source of
this information as biased?

A Yes.

Q And biased for whatever reason, biased that they were
dissatisfied with your professional services, biased because
you provided excellent services toa Party in an adversarial
Proceeding, perhaps?

A Yes, perhaps.

Q Biased because they just don't like the way you walk down
the street --

A Absolutely.

Q “- correct?

A My hunch is it's not really (inaudible) to that.

Q Well, probably not but, nevertheless, the source of

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information that someone might use to form an opinion about you

should be filtered through it's reliability, should it not?
A Certainly.
Q I mean, you would probably like the Opportunity to refute
that you, as this says, punched a prostitute on the lawn of
your home in the face, would you not?

MS. FRIEDMAN: Objection, hearsay and relevance.
MR. MITCHELL:

Q Are you aware that that's been reported?
A Yes, I'm aware that's in there.
Q And I suspect you'd like to tell your side of the story on

that, would you not?

A My side of the story has been told to the Police in

documents and is inconsistent with -- I'd suggested you
actually look at the Police Report as opposed to a -- something
like that.

Q Exactly, Doctor, exactly. You would discourage anyone

from forming an opinion about you based on information provided
from a biased source, would you not?

A Correct.

Q You would agree that Mr. Moody in this case is a biased
source of information as far as these proceedings are
concerned?

A I believe that he has, certainly, his side. I take

exception to describing the documents I reviewed, particularly

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those for example, a deposition Or Court Order, where there are

-~ I mean, that's —- a deposition transcript is the four

corners of the document -~-
Doctor --
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I'm sorry.

-~ Court Order --

“~~ I apologize.

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-—- is -- it's certainly not Mr. Moody's description. It's
the Court's description. So, I think that there are numerous
documents that I reviewed that are both reliable and valid.

Q Can you point me to one instance, Dr. Flens, where you
requested of Mr. Moody or his counsel information that was not
Provided to you in order to allow you to form an unbiased,

objective, even-handed opinion in this case?

A Uh --

Q Can you produce one email (inaudible) --

A “~ me, I cannot.

Q In fact, all the information that you've been provided

that forms the basis of your opinions in this case has been
hand selected by Mr. Moody or his counsel and provided to you?
A Correct.

0 In fact, I think you told me that -- ang you realize Mrs.
Moody has been the Custodial parent, Party in this case since
the separation of the parties back in, Sometime in 2011 --

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A That's my understanding, yes.

Q Okay. Or perhaps in late 2010, I could be wrong about
that, and nevertheless, you offered your opinion that's been
formed in the Fall of this year that there should be a
psychological evaluation done. However, that opinion was not
based in any part on your personal interaction with the
parties; am I right about that?

A Yes, and I put that on the front page in a warning,
cautionary note, that I didn't do any sort of evaluation of any
of the parties.

QO We appreciate you cautioning the Court on that. You've

never spoken in any material sense about this case with Mr.

Moody?
A No.
Q You've never spoken in any material sense with Angela

Moody about this? In fact, you never met her before today,
have you?

I didn't meet any -- either of parties.

You never met Eden Moody, the child?

Correct.

How old is Eden?

She is five years old.

OF 4 Pao

Okay. She's six, Mr. Flens. Do you know where she goes

to school?

A She's six and a half, January 9, 2008. I do not know

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where she goes to school.
Q Do you even know the name of her teacher?
A No, I don't.
Q Do you have any sense of what her most recent report card

would reflect about her academic progress?

A No, I don't.

Q Did you consult with her teacher to get her objective
assessment about how this child is getting along in life?

A Well, as I already testified several times, I have not
spoken to anyone about the case.

Q Did any of the materials provided to you by Mr. Moody
illuminate the fact that this child is well adjusted and doing
quite well socially and academically?

A I did not review any records regarding that.

Q In fact, do you have any information about how she
interacts socially with her peers?

A No, I do not.

Q Or with other adults? Do you know what she eats? Do you
know her diet? Do you -- do you know how well she eats on a
regular basis, Eden?

A I think it's been pretty clear from my testimony that I
don't have that information.

Q Do you know how regularly she sleeps at night?

A No, I do not.

QO Did you ever have a conversation or review any materials,

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favorable or not, from the child's therapist, Dr. Dawn Doray?
A No, I have not.
Q Did you know that she had one?

A No; I. did net.
Q Did you know that she was encouraged and that Angela Moody
facilitated the sessions that the child has been exposed to
with Dr. Doray?
A I have no information.
Q Did you know that that was bourne out of Mrs. Moody's
concern that the child, should she have any issues that
couldn't be expressed to the parents directly, would have
someone to talk to and help her work that out?
A As I've already testified, I would have no information
regarding that.
Q Did you have any idea before you came here today that Dawn
Scott, Mrs. Moody's best friend, would testify under oath that
she's had ample opportunity to express Mrs. -- to observe Mrs.
Moody's parenting and over the years that she's observed 1 bs
she's seen nothing but the kind of characteristics of a parent
that she herself would hope to display?

MS. FRIEDMAN: Objection, assumes facts not in

evidence.

WITNESS:
A I don't have any information.
0 Well, why not?

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A Well, as I testified Probably a dozen times so far, and

I've outlined in Cautionary note, I didn't do that sort of

evaluation, sir.

Q We appreciate that, Dr. Flens. No more questions.
RE-DIRECT EXAMINATION

BY MS. FRIEDMAN:

Q Dr. Flens, Mr, Mitchell just asked you a whole series of

questions about things that you've not reviewed Or things that

were not provided to you. Are those the types of things that

need to be provided to an independent evaluator to do a child

custody evaluation?

Yes.

Were you asked to do a child custody evaluation?

No.

And you've not done one?

No, I have not.

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And if the Court appoints a child custody evaluation are
all the things that Mr. Mitchell raised the types of things
that a child custody evaluator should be reviewing and looking
at making their recommendations to the Court?

A Absolutely.

Q Is there anything wrong with you having reviewed what you
reviewed and Suggest and making, forming an opinion that a
child custody evaluation is in order?

A Not that I'm aware of, no.

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QO And all the items that Mr. Mitchell talked about that you

didn't review, those -- those are arguments in favor of an
evaluation, are they not?

A Certainly.

Q Now, with regard to the Trial setting, you were originally
asked to testify at a Hearing that was scheduled for October

21; is that correct?

A Yes.

Q And you had a conflict with that date; is --

A Yes a=

Q == that... riqnt?

A ee. EMGia:;

Q And that's why we were taking your Evidentiary Deposition

today; is that correct?
A Yes.
Q And so, the issue with Trial didn't really come up until
that Hearing was removed?
A Correct.
QO Now, I have marked as Exhibit Three pages ten through
fifteen of your report, which is Attachment A, records
reviewed.
(WHEREUPON, Exhibit No. 3 was marked for

identification purposes.)

MS. FRIEDMAN:

QO Can you identify that for --

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MR. MITCHELL: Objection, hearsay, best

evidence.
MS. FRIEDMAN:
0 —- can you --
A Yeah, those are the pages ten through fifteen of my
report.
Q Okay. And if I were te ask you to name off on the record

all one hundred and nine items that you reviewed, would this be
your testimony of the hundred and nine things that you reviewed
(indicating) ?
A Yes.

MR, MITCHELL: Objection, same objection.

MS. FRIEDMAN: Offer Exhibit Three.

MR. MITCHELL: Objection, hearsay and best

evidence.
RE-DIRECT EXAMINATION - (Continuing)

BY MS. FRIEDMAN:
Q Now, with regard to the texts that Mr. Mitchell asked you

about that Mrs. Moody sent Mr. Moody and he didn't response =~

do you remember those -- that question?
A Yes.
Q Do you know whether or not there were phone calls

afterwards, that Mr. Moody may have called Angela as opposed to

responding to the texts?

A I have no information about that.

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Q And that would something that an evaluator ought to be

looking at, correct?

A Correct. Certainly, they'll be follow up questions after
reviewing all these.

QO And with regard to an evaluator, if the Court deems it
appropriate to appoint a child custody evaluation, what -- do
you have an opinion about how the Order should read in terms
what he should be asked to do, he or she?

MR. MITCHELL: Objection. The witness has
testified that all -- he's testified the universe of
his opinions in this case. To the extent that you're
asking him to testify on any additional opinion,
which he has had no opportunity to discover, we would
object to this testimony and ask that any testimony
in response to this question be stricken.

MS. FRIEDMAN: Actually, counsel, this is in
follow up to your discussion with Dr. Flens before we
started.

MR. MITCHELL: Did I misunderstand, counsel,
that you just asked him for an opinion, an additional
opinion?

MS. FRIEDMAN: I asked him how he thought the
Order should be fra-- if there's any specific
elements that ought to be included in the Order for

whoever is asked to do an evaluation.

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MR. MITCHELL: And I voice the additional
objection, that's going to be the province of the
fact finder and basically the province of the Judge.
RE~DIRECT EXAMINATION - (Continuing)
BY MS. FRIEDMAN:
Q You can answer the question, Dr. Flens,
A Well --
MR. MITCHELL: (Inaudible) -- beyond this
witnesses expertise,
WITNESS:
A -- I think addressing the four issues that I've outlined.

Q Well, first of all before you answer that, is that within
your expertise? |
MR. MITCHELL: Well, that's self-serving. That
calls for -- objection, same objection.
MS. FRIEDMAN:
Oo Dr. Flens, you can answer the question. Is it within your
area of expertise how these Orders should read.
MR. MITCHELL: That's bolstering testimony, same
objection.

FRIEDMAN :

I believe it is, yes.

ws,

Q You can answer,

A

Q Do you speak on that topic?
A

Yes, I do.

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Q And do you speak -- where do you speak on that topic?

A At National and Regional Conferences to psychologists,
lawyers, the jury, judges, AAML, AFCC, things of that nature.
Q And in the event the Court does not know, would you tell

the Court what AAML is?

A American Academy of Matrimonial Lawyers.

Q And what is AFCC?

A That's Association of Family and Conciliation Courts.
Q And would you tell the Court what your opinion is with

regard to the best way to draft the Orders to get a good
evaluation?

MR. MITCHELL: Same objections.
MS. FRIEDMAN:
Q You can answer.
A I strongly recommend, there's a lot of things that have
been written on this issue and I've seen and presented on it,
that it should be very specific what information the Court
wants to know, not just a general custody evaluation but on the
specific issues, for example, Mr. Moody's substance abuse
issue, what's the extent of that, how does it effect parenting
and co-parenting, the mother's potential characterological
issues, how does that effect parenting and co-parenting.
Things of that nature should be specifically addressed so the
evaluator knows what to be looking for. And in a lot of these
cases there are irrelevant things that come up and that just

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take up time and be wasteful of the Court's resources. So, I

believe it's always best to specify what the Court is asking
for.

Q Now, with regard to your Concerns about Mrs. Moody,
specifically, her credibility, honesty and possibly
characterological issues, the documents that formed the basis
of your concern are -- were they documents that Mr. Moody
created or were they other documents?

MR. MITCHELL: Objection.

MS. FRIEDMAN:

Q You can answer.

A I was going to --~ I thought he was going to finish his
objection.

MR. MITCHELL: Well, I'm not smart enough to
form it yet SO, you Can go ahead answer.

WITNESS:
A I'm sorry. Those are documents that I was provided.
They looked like they had been filed with the Court in some
cases where they have Exhibits on them, there is testimony in
Sworn depositions and Hearings, Court Orders. So, I -- they
certainly looked legitimate to me.
© Okay. And then, you had expressed the concern about Mr.
Moody's alcohol use. Where -- what documents did you review?
Where did that come from?
A Those came from a Temporary Order, a Supervision

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Agreement, a Motion for Psychological Testing and the Response
to that, Emergency Motion for Production and Emergency -- and
Response. So, these were all Court related documents.

Q So, the types of documents you looked at when you -- when
you're telling the Court that you have concerns about these

issues, they're the same types of documents--

A Yes.

QO -- correct?

A Yes.

Q And do you think it's a fair comparison to say that you

have biased information based on Court documents as compared
to this website called shrinksgonewild?
A No, I don't.
Q Based on the questions that Mr. Mitchell asked you about
various documents that you didn't review, that you didn't have
access to, is there any -- would that information make it more
or less likely that the Court should have an evaluation, a
child custody evaluation in this case?
A Let me -- let me stop you here. I was kind of distracted
because I think he was trying to do a time out and I wasn't
paying quite enough attention to the question.

MR. MITCHELL: I was just asking my client to

keep her seat for a second.
WITNESS: Okay. So, I guess I need you to

restate.

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MS. FRIEDMAN: Certainly.

MR. MITCHELL: Guess I do, too.
MS. FRIEDMAN:
Q Okay. With regard to the questions that Mr. Mitchell
asked you about lists of docy-- types of documents, types of
information that you testified you did not have --
A Yes,
Q ~~ do you recall those questions?
A Yes, yes.
Q Would the fact that you -~ that you don't have that
information, is that a -- a reason -- more of a reason why the
Court should appoint an evaluator who would have access to
everything and be able to make recommendations to the Court?
A Yes.
Q No further questions.

MR. MITCHELL: None for me.

VIDEOGRAPHER; Okay. This will conclude the
deposition, We're off the record at 10:58 a.m.

(WHEREFORE, the deposition was concluded at
10:58 a.m.)

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